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17    IGOV INC., and JOHN MARK SUHY
18                                       UNITED STATES DISTRICT COURT

19                                  NORTHERN DISTRICT OF CALIFORNIA

20    NEO4J, INC., a Delaware corporation, and               CASE NO. 5:18-cv-07182-EJD
      NEO4J SWEDEN AB, a Swedish
21    corporation,                                           AMENDED JOINT WITNESS LIST FOR
                                                             TRIAL
22                         Plaintiffs,
23              v.
24    PURETHINK LLC, a Delaware limited
      liability company, IGOV INC., a Virginia
25    corporation, and JOHN MARK SUHY, an
      individual,
26
                           Defendants.
27
      AND RELATED COUNTERCLAIMS.
28
     4858-7800-5642.1
      AMENDED JOINT WITNESS LIST FOR TRIAL; CASE NO. 5:18-CV-07182-EJD
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 1              Plaintiffs and Counter-Defendants Neo4j, Inc. and Neo4j Sweden AB (collectively
 2    “Plaintiffs” or “Neo4j”) and Defendants and Counterclaimants PureThink LLC and iGov, Inc., and
 3    Defendant John Mark Suhy (collectively “Defendants”) in accordance with this Court’s Standing
 4    Order for Civil Cases, respectfully submit this Joint Witness List.
 5    I.        PLAINTIFFS’ WITNESSES
 6              Plaintiffs disclose the following witnesses that are likely to be called at trial, other than
 7    solely for impeachment or rebuttal:
 8              1.      Jason Zagalasky, Federal Accounts Manager, Neo4j, Inc. Mr. Zagalasky will
 9    testify regarding Neo4j, Inc.’s commercial sales process and pricing structure in the United States.
10    Mr. Zagalasky will further testify about Neo4j, Inc.’s sales efforts directed towards U.S.
11    Government agencies, including the IRS and Maryland Procurement Office, and the loss of such
12    sales due to their adoption of ONgDB.
13              2.      Kelly Zawalski, Vice President of Finance, Neo4j, Inc. Ms. Zawalski will provide
14    testimony about Neo4j USA’s commercial sales process and revenue, pricing structure, reseller
15    relationships and margins, sales commissions and partnerships.
16              3.      Steven Boyles, expert witness for Neo4j, Inc. and Neo4j Sweden AB. Mr. Boyles
17    will provide expert testimony on the calculations of Plaintiffs’ lost sales and revenue caused by
18    Defendants’ violations of the Lanham Act and DMCA. He will also provide expert testimony on
19    the calculations of Defendants’ illicit profits earned from their alleged violations of the Lanham
20    Act and DMCA.
21              4.      Ashwani Mayur, eGovernment Solutions, Inc. (“eGov Solutions”), via
22    deposition testimony due to his unavailability at trial. Mr. Mayur will testify regarding the CKGE
23    Contract eGov Solutions entered into with the IRS. He will also testify regarding eGov Solutions
24    delegation of that contract to Mr. Suhy and iGov and the payments made to them under the CKGE
25    Contract.
26              5.      Jim Weyant, Next Century/CACI, Inc. (“Next Century”), via deposition
27    testimony due to his unavailability at trial. Mr. Weyant will testify about Next Century’s evaluation
28    and use of ONgDB and Neo4j® Enterprise Edition in relation to a contract with the Maryland
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 1    Procurement Office. Neo4j, Inc.’s sales efforts directed towards the Maryland Procurement Office,
 2    and the loss of such sales due to their adoption of ONgDB.
 3              6.      Michael Stavrianos, ASR Analytics LLC (“ASR”), via deposition testimony due
 4    to his unavailability at trial. Mr. Stavrianos will testify about with Mr. Suhy’s performance of
 5    support and consulting work relating to ONgDB at the IRS under iGov’s subcontracts with ASR
 6    and the task orders issued under that subcontracts. Mr. Stavrianos will also testify regarding the
 7    payments made to iGov for such work performed by Mr. Suhy.
 8              7.      John Mark Suhy, PureThink LLC and iGov Inc. Mr. Suhy is expected to testify
 9    regarding his removal of Neo4j Sweden’s Copyright Management Information (CMI), the
10    distribution of Neo4j Sweden’s software after removal of the CMI and his support such software.
11    He will also testify regarding the payments received by iGov for such work performed by Mr. Suhy.
12              8.      Turin Pollard, Greystones Consulting, Inc., via deposition testimony due to his
13    unavailability at trial. Mr. Pollard will testify regarding Greystone’s acquisition of iGov and hiring
14    of Mr. Suhy. He will also testify regarding Greystones assumption of iGov’s subcontracts with
15    ASR and allowing Mr. Suhy to continue performing under the task orders issued thereunder.
16    II.       DEFENDANTS’ WITNESSES
17              Defendants disclose the following witnesses that are likely to be called at trial, other than
18    solely for impeachment or rebuttal:
19              1.      John Mark Suhy. Mr. Suhy is the principle for iGov Inc., and PureThink LLC
20    when it was operational. He provides services related to Graph Database technology. Mr. Suhy is
21    expected to testify broadly related to the defense, claims and affirmative defenses against Neo4j.
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23    ///
24    ///
25    ///
26    ///
27    ///
28    ///
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         Case 5:18-cv-07182-EJD Document 221 Filed 11/01/23 Page 4 of 5



 1    Dated: November 1, 2023                                 HOPKINS & CARLEY
                                                              A Law Corporation
 2

 3
                                                              By: /s/ Jeffrey M. Ratinoff
 4                                                               John V. Picone III
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 5                                                               Arthur E. Rothrock
                                                                 Attorneys for Plaintiffs and Counter-
 6                                                               Defendants NEO4J, INC. and NEO4J
                                                                 SWEDEN AB
 7

 8    Dated: November 1, 2023                                 By: /s/ Adron W. Beene
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 9                                                               Adron G. Beene
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10                                                               Counterclaimants PURETHINK LLC,
                                                                 IGOV INC., and JOHN MARK SUHY
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 1                                ATTESTATION OF E-FILED SIGNATURE
 2              Pursuant to Local Rule 5-1(i)(3), I hereby certify that I have obtained the concurrence in
 3    the filing of this document from all signatories for whom a signature is indicated by a
 4    “conformed” signature (/s/) within this electronically filed document and I have on file records to
 5    support this concurrence for subsequent production to the Court if so ordered or for inspection
 6    upon request.
 7    Dated: November 1, 2023                                 HOPKINS & CARLEY
                                                              A Law Corporation
 8

 9
                                                              By: /s/ Jeffrey M. Ratinoff
10                                                               Jeffrey M. Ratinoff
                                                                 Attorneys for Plaintiffs and Counter-
11                                                               Defendants NEO4J, INC. and NEO4J
                                                                 SWEDEN AB
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